              6:20-cv-00423-JFH Document 94 Filed in ED/OK on 05/12/21 Page 1 of 1

                            UNITED STATES DISTRICT COURT
                                                  for the
                                      EASTERN DISTRICT OF OKLAHOMA

        UNITED STATES OF AMERICA,                          )
                                                           )    Case No.     CIV-20-423-JFH
                                          Plaintiff,       )
                                 v.                        )    Date:       5/12/2021
                                                           )
        JEFFREY LOWE, et al.,                              )    Time:       9:30 a.m. – 10:04 a.m.
                                                           )
                                          Defendants.      )


                  MINUTE SHEET – VIDEO CONFERENCE SHOW CAUSE HEARING

U.S. District Court Judge John F. Heil, III      Trish Payne, Law Clerk         Shelley Ottwell, Reporter
                                                 Nick Davis, Deputy Clerk       FTR Courtroom 1 - Room 230



Counsel for Plaintiff: Mary Hollingsworth and Briena Strippoli appearing via video conference
Counsel for Defendants: Daniel J. Card appearing via video conference
Defendants: Jeffrey Lowe and Lauren Lowe appearing via video conference

MINUTES:
Comes on for Show Cause Hearing regarding this Court’s January 15, 2021 Order granting preliminary injunctive relief to
the Plaintiff (Dkt. Entry #65). Oral argument held regarding Plaintiff’s Notice of Defendants’ Noncompliance (Dkt. Entry
#83). Oral argument held regarding sanctions. The Court would invite Plaintiff to submit any actual damages it has
suffered as a result of the Defendants’ noncompliance, to include any expenses, costs or fees, which the Court will take
under advisement as to what will be ordered as a sanction. Defendants to be fined $1,000.00 per day until they come into
compliance with the Court’s January 15, 2021 Order. Defendants directed to be in full compliance by June 11, 2021. If
Defendants do not come into full compliance, Plaintiff is invited to file an additional notice of noncompliance, at which
time the Court would consider additional sanctions. Written order to follow. (JFH)


COURT ADJOURNED
